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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY

                                            TO BE FILED UNDER SEAL
UNITED STATES OF AMERICA
                                            Mag. No. 16-6546
        v.

CARY LEE PETERSON                           CRIMINAL COMPLAINT



      I, Jeffrey R. Clark, being duly sworn, state the following is true and
correct to the best of my knowledge and belief.

                              SEE ATTACHMENT A

      I further state that I am a Special Agent with the Federal Bureau of
Investigation and that this Complaint is based on the following facts:

                              SEE ATTACHMENT B

continued on the attached page and made a part hereof.



                                                . Clark, Special Agent
                                               Bureau of Investigation



Sworn to before me and subscribed in my presence,
March 10, 2016 at Newark, New Jersey


HONORABLE JOSEPH A. DICKSON
UNITED STATES MAGISTRATE JUDGE
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                               ATTACHMENT A

                                 COUNT ONE
                             (False Certification)

     On or about December 21, 2012, in Monmouth County, in the District of
New Jersey, and elsewhere, the defendant,

                            CARY LEE PETERSON,

being the Chief Executive Officer of RVPlus, Inc. ("RVPlus"), an issuer with the
U.S. Securities and Exchange Commission, did knowingly certify falsely that
RVPlus's Form 10-Q for the quarter that ended October 31, 2012 filed with the
Securities and Exchange Commission fully complied with the requirements of
Sections 13(a) and 15(d) of the Securities Exchange Act of 1934, and that the
information contained in the October 31, 2012 Form 10-Q fairly presented, in
all material respects, the financial condition and results of operations of
RVPlus, knowing that RVPlus's Form 10-Q for the quarter that ended October
31, 2012 did not comport with the requirements of the Securities Exchange Act
of 1934 and did not fairly present, in all material respects, the financial
condition and results of operations of RVPlus, in that PETERSON falsely
certified that RVPlus was owed approximately $8,653,846 in short-term
accounts receivable.

      In violation of Title 18, United States Code, Section 1350.

                                 COUNT TWO
                             (False Certification)

     On or about March 28, 2013, in Monmouth County, in the District of
New Jersey, and elsewhere, the defendant,

                            CARY LEE PETERSON,

being the Chief Executive Officer of RVPlus, Inc. ("RVPlus"), an issuer with the
U.S. Securities and Exchange Commission, did knowingly certify falsely that
RVPlus's Form 10-Q for the quarter that ended January 31, 2013 filed with the
Securities and Exchange Commission fully complied with the requirements of
Sections 13(a) and 15(d) of the Securities Exchange Act of 1934, and that the
information contained in the January 31, 2013 Form 10-Q fairly presented, in
all material respects, the financial condition and results of operations of
RVPlus, knowing that RVPlus's Form 10-Q for the quarter that ended January
31, 2013 did not comport with the requirements of the Securities Exchange Act
of 1934 and did not fairly present, in all material respects, the financial
condition and results of operations of RVPlus, in that PETERSON falsely
certified that RVPlus was owed approximately $17,590,837 in short-term
accounts receivable.
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      In violation of Title 18, United States Code, Section 1350.

                                COUNT THREE
                               (Securities Fraud)

      From in or about May 2012 through in or about March 2013, in
Monmouth County, in the District of New Jersey, and elsewhere, the
defendant,

                             CARY LEE PETERSON,

by use of the means and instrumentalities of interstate commerce, the mails,
and facilities of national securities exchanges, directly and indirectly,
knowingly and willfully used manipulative and deceptive devices and
contrivances in contravention of Section lO(b) of the Securities Exchange Act of
1934, in connection with the purchases and sales of securities, to wit, shares
of RVPlus by (a) employing devices, schemes and artifices to defraud; (b)
making untrue statements of material fact and omitting to state material facts
necessary in order to make the statements made, in the light of the
circumstances under which they were made, not misleading; and (c) engaging
in acts, practices and courses of business which operated and would operate
as a fraud and deceit upon other persons.

     In violation of Title 15, United States Code, Section 78j(b) and Title 17,
Code of Federal Regulations, Section 240. lOb-5.




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                         FORFEITURE ALLEGATIONS

        1.    As the result of committing the offenses constituting specified
unlawful activity as defined in 18 U.S.C. § 1956(c)(7), as charged in Counts
One through Three of this Complaint, defendant CARY LEE PETERSON, shall
forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C.
§ 2461(c), all property, real and personal, that constitutes or is derived from
proceeds traceable to the commission of the said securities fraud offenses, and
all property traceable to such property.

      2.    If any of the property described above, as a result of any act or
omission of the defendants:

            a.    cannot be located upon the exercise of due diligence;

            b.    has been transferred or sold to, or deposited with, a third
                  party;

            c.    has been placed beyond the jurisdiction of the court;

            d.     has been substantially diminished in value; or

            e.    has been commingled with other property which cannot be
                  divided without difficulty,

it is the intent of the United States, pursuant to 21 U .S.C. § 853(p), as
incorporated by 28 U.S.C. § 2461(c), to seek forfeiture of any other property of
the defendants up to the value of the above forfeitable property.




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                               ATTACHMENT B

       I, Jeffrey R. Clark, am a Special Agent with the Federal Bureau of
Investigation. I have conducted an investigation and discussed this matter
with other law enforcement officers who have participated in this investigation,
and have knowledge of the following facts. Because this affidavit is being
submitted for the limited purpose of establishing probable cause, I have not
included each and every fact known to me concerning this investigation. I have
set forth only the facts which I believe are necessary to establish probable
cause. Unless specifically indicated, all dates, times, and monetary amounts
described in this affidavit are approximate, and all conversations and
statements described in this affidavit are related in substance and in part.

      1.    At all times relevant to this complaint:

            a. Defendant Cary Lee Peterson ("PETERSON") was the Chief
               Executive Officer of RVPlus, Inc. ("RVPlus") and also held other
               positions with RVPlus.

            b. RVPlus was organized as a corporation under the laws of the
               state of Delaware, and listed Jersey City, New Jersey as its
               corporate headquarters. RVPlus purported to be a developer,
               manufacturer, and marketer of products related to the
               recreational vehicle industry.

            c. RVPlus's common stock traded publicly on the Over-the-
               Counter Pink Sheets market, under the symbol RVPlus, until on
               or about July 19, 2013, when the Securities and Exchange
               Commission ("SEC") suspended trading in RVPlus.

            d. Federal securities laws required public companies to file
               periodic reports with the SEC, including Form 10-K, Form 10-
               Q, and Form 8-K {the "SEC Reports"). SEC Form 10-K was an
               annual report that provided a comprehensive summary of a
               public company's financial performance. Forms 10-K were
               required to include, among other pieces of information, audited
               financial statements. SEC Forms 10-Q, which included
               unaudited financial statements and provided a continuing view
               of the company's financial position during the year, had to be
               filed with the SEC for each of the first three fiscal quarters of
               the company's fiscal year. Public companies were required to
               file SEC Forms 8-K on a current basis any time a significant
               corporate event occurs.
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            e. A company's accounts receivable was the balance of money
               owed to a company by a customer for products and/ or services
               rendered.

            f. Defendant PETERSON and RVPlus were required to comply
               with the federal securities laws, including the requirement that
               RVPlus file SEC Reports that accurately presented RVPlus's
               financial condition and the results of its business operations.
               As RVPlus's Chief Executive Officer, defendant PETERSON was
               responsible for certifying the accuracy of the RVPlus Reports.

            g. The U.N. Department of Economic and Social Council (the "U.N.
               Department") provided "consultative status" to certain non-
               governmental organizations ("NGOs"). This status provided
               NGOs with access to not only the U.N. Department (through the
               U.N. Department's NGO Branch), but also, among other things,
               the U.N.'s many subsidiary bodies and special events organized
               by the President of the General Assembly.


                  False and Misleading RVPlus SEC Filings

      2.    In violation of his obligations, from in or about December 2012
through in or about March 2013, defendant PETERSON filed various SEC
Reports on behalf of RVPlus that were materially false and misleading (the
"False RVPlus Reports").

     3.    The False RVPlus Reports were false and misleading primarily
because they inflated RVPlus's accounts receivable.

      4.    For example, on or about August 21, 2012, RVPlus filed a report
on Form 8-K with the SEC, which defendant PETERSON signed in his capacity
as CEO of RVPlus (the "August 21 8-K"). In the August 21 8-K, defendant
PETERSON certified that RVPlus had entered into a contract worth
approximately $1.8 billion with the "Ministry of Environment for Katsina State
Within the Federal Republic of Nigeria" to provide unspecified green energy
products and services (the "Nigeria Agreement").

      5.    In truth and in fact, the Nigeria Agreement created no actual
payment obligation on the part of the Nigerian Ministry or any other
governmental entity. Instead, the Nigeria Agreement purportedly assigned the
payment obligation to a third party called the "United World Charitable Fund,
A Beneficiary to the Charles Schwab Charitable Fund" (the "United World
Charitable Fund").


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      6.    An individual named Amir Rafrouf Kalifah ("Kalifah") purportedly
signed the Nigeria Agreement on behalf of the United World Charitable Fund.
Law enforcement has been unable to uncover any records showing that either
the United World Charitable Fund or Kalifah actually e:xist.

      7.     As another example, on or about November 16, 2012, RVPlus filed
a report with the SEC on Form 8-K, which defendant PETERSON signed (the
"November 16 8-K"). In the November 16 8-K, defendant PETERSON certified
that RVPlus had entered into a contract worth approximately $90 million with
the "Commission of the Foreign Affairs to the Senate for the Republic of Haiti"
(the "Haiti Agreement"). As with the Nigeria Agreement, the Haiti Agreement
purportedly assigned the payment obligation to the United World Charitable
Fund, and was signed by Kalifah.

       8.    On or about December 17, 2012, defendant PETERSON sent an
email enclosing information related to RVPlus's Form 10-Q for the quarter
ending October 31, 2012 to Individual l, an accountant responsible for
auditing RVPlus. On or about December 18, 2012, Individual 1 emailed
defendant PETERSON and advised defendant PETERSON that RVPlus could
not include anticipated revenues from the Nigeria Agreement in its Form 10-Q
because RVPlus could not demonstrate that "delivery has occurred or services
have been rendered" under the Nigeria Agreement. Defendant PETERSON
replied to Individual 1: "You and I know goods not deliver [sic] and contract
just start."

       9.    On or about December 18, 2012, after the email exchange
described in paragraph 8, Individual 2-the managing partner of RVPlus's
accounting firm responsible for RVPlus's audit-sent defendant PETERSON a
letter advising defendant PETERSON that the accounting firm was terminating
its relationship with RVPlus. Individual 2 explained that "[d]uring our
discussions to perform the quarterly reviews ended Octo her 21, 2012, it
became apparent that the books and records of [RVPlus's] revenue would not
meet our requirements to obtain sufficient and appropriate evidence, especially
in the area of revenue recognition."

     10. The investigation has not revealed any goods or services provided
by RVPlus, or any payments actually received by RVPlus, under the Nigeria
Agreement.

       11. Nevertheless, on or about December 21, 2012-despite the warning
from the accounting firm-RVPlus filed a quarterly report with the SEC on
Form 10-Q for the quarter that ended October 31, 2012, which falsely stated
that RVPlus held approximately $8,653,846 in short-term accounts receivable
for services rendered under the Nigeria Agreement (the "October 2012 10-Q").
Defendant PETERSON, acting as RVPlus's CEO and principal financial officer,
signed and certified the Octo her 2012 10-Q.
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       12. On or about December 27, 2012, RVPlus filed a Form 8-K, which
Defendant PETERSON signed in his capacity as the CEO of RVPlus (the
"December 27 8-K"). In the December 27 8-K, defendant PETERSON certified
that RVPlus had entered into a contract worth approximately $10.5 million
with the Federal Ministry of Planning & Economic Affairs for the Republic of
Liberia (the "Liberia Agreement"). As with the Nigeria Agreement and the Haiti
Agreement, the Liberia Agreement purportedly assigned the payment obligation
to the United World Charitable Fund, and was signed by Kalifah.

     13. The investigation has not revealed any goods or services provided
by RVPlus, or any payments actually received by RVPlus, under either the Haiti
Agreement or the Liberia Agreement.

       14. Nevertheless, on or about March 28, 2013, RVPlus filed a quarterly
report with the SEC on Form 10-Q for the quarter that ended on January 31,
2013, which falsely stated that RVPlus held approximately $17,590,837 in
short-term accounts receivable from, among other sources, the Haiti Agreement
and the Liberia Agreement (the "January 2013 10-Q"). Defendant PETERSON,
acting as RVPlus's CEO and principal financial officer, signed and certified the
January 2013 10-Q.

      15. On or about July 19, 2013, the SEC suspended trading in RVPlus
due to questions concerning, among other things, the accuracy of RVPlus's
periodic financial filings, including reported accounts receivable, assets and
operations.


    Other False Statements Regarding RVPlus's Contracts with Various
              Governments and Governmental Organizations


      16. As the U.N. Department makes clear, U.N. Department
consultative status does not accrue any financial advantage to the respective
NGO, nor does it create any financial relationship between the respective NGO
and the United Nations. Furthermore, the U.N. Department does not provide
funding or financial support of any kind to any organization with which it
partners.

      17. On or about September 3, 2010, defendant PETERSON formed
ECC02 Corp. ("ECC02"), a not-for-profit Texas corporation that defendant
PETERSON wholly owned. By at least early November 2010, ECC02's website
claimed that it was an "affiliate organization" of the United Nations Climate
Convention.


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       18. On or about November 5, 2010, the chief legal advisor to the U.N.
Climate Convention sent defendant PETERSON a cease-and-desist letter. The
letter stated, in part:

      It has come to our attention that ECC02 Corp claims in the
      news section on its internet page to be an 'affiliate
      organization of the United Nations Framework Convention
      on Climate Change':
      http:/ /www.ecco2corp.org/news.html>. This information
      has been reproduced by several online publications on the
      basis of your claims and statements. Since ECC02 Corp is
      not in fact affiliated with the [U.N. Climate Convention] or
      the secretariat of the [U.N. Climate Convention] in any way,
      we demand that you immediately cease and desist from
      making any such statements and claims and that you notify
      all the concerned online publications that you have no such
      affiliation.

      19. The investigation has not revealed any actual consultative or
financial relationship between ECC02 and the U.N. Department, or that
ECC02 was ever an affiliate of the U.N. Climate Convention.

      20. On or about May 4, 2012-when defendant PETERSON purchased
the control block of RVPlus shares-ECC02 licensed certain intellectual
property to RVPlus, including "the exclusive rights and authority to all active
and pending business partnerships, affiliations, joint ventures, which also
include any letter of intent [and] letter of understanding."

      21.    On or about May 4, 2012, ECC02 issued a press release stating
that ECC02 had "completed its acquisition with" RVPlus (the "May 4 Press
Release"). The May 4 Press Release appeared on ECC02's website and
contained a quote from defendant PETERSON as RVPlus's "President-CEO."
The May 4 Press Release falsely claimed that ECC02 was "recently admitted" to
the U.N., that ECC02 was an "affiliate partner" of the U.N. Climate Convention,
and that "[t]his status held with the sectors of the United Nations opens many
windows of opportunity to over $100 billion in financial aid to fund ECC02
projects."

      22. On or about May 31, 2012, ECC02 issued another press release
and claimed that RVPlus had "recently acquired" ECC02 (the "May 31 Press
Release"). The May 31 Press Release appeared on ECC02's website and
contained a quote from defendant PETERSON as RVPlus's "CEO-Chairman."
The May 31 Press Release repeated the May 4 Press Release's false statements
about ECC02's relationship with the U.N.

      23. On or about June 29, 2012, ECC02 issued a press release stating
that RVPlus had "recently acquired" ECC02 (the "June 29 Press Release"). The
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June 29 Press Release appeared on ECC02's website and referenced a radio
interview with defendant PETERSON, RVPlus's "Chairman-CEO." The June 29
Press Release repeated the May 4 and May 31 Press Releases' false statements
about ECC02's relationship with the U.N.

       24.    On or about August 21, 2012, RVPlus issued a press release that
appeared on ECC02's website and quoted defendant PETERSON as RVPlus's
"Chairman-CEO" (the "August 21 Press Release"). The August 21 Press Release
falsely stated that RVPlus had entered into the ten-year Nigeria Agreement "for
a total of $1.8 billion (USD)."

       25.    On or about October 10, 2012, defendant PETERSON, using the
alias "dick_schmidt," posted on a message board related to RVPlus on
lnvestorsHub.com, a financial markets website. Defendant PETERSON stated
that, among other things, the value of the Nigerian Agreement made RVPlus
stock worth "over $10 a share 1: 1. Even only counting first year's contract
revenue it should be over $2 a share. Way under valued [sic]." In another
posting on InvestorsHub.com, defendant PETERSON, again using the alias
"dick_schmidt," defended the statements in various SEC filings stating "Fed
filings don't lie" and advised other shareholders: "I would buy up as much as
possible." In addition, on or about July 24, 2013, defendant PETERSON, using
the alias "dick_schmidt," posted on InvestorsHub.com:

            BK Contracts are extremely valid. Each 8K contract was
            with a federal government agency. Each party in contract is
            either a affiliate [sic] of UN or some Ministry or something
            or office of Foreign affairs .... If they contracts [sic] were
            bogus the CEO would have detained the CEO or whoever
            was responsible for faking something this extreme .... Let's
            use our common sense here.

      26. On or about November 16, 2012, RVPlus issued a press release
that appeared on ECC02's website and contained a quote from defendant
PETERSON as RVPlus's "CEO-Chairman" (the "November 16 Press Release").
The November 16 Press Release falsely stated that RVPlus had "entered into a
material agreement for $90 million" to supply "green technologies chains that
enable the environment, agriculture, climate change, and economy in the
Republic of Haiti over the next decade."

      27.   On or about December 27, 2012, RVPlus issued a press release
that appeared on ECC02's website and stated that RVPlus had "entered and
reported a $10.5 million material agreement," referring to the Liberian           '
Agreement.

      28. On or about February 11, 2013, RVPlus issued a press release
stating that ECC02 was a "UN affiliate partner" (the "February 11 Press
Release"). The February 11 Press Release appeared on ECC02's website and
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     provided defendant PETERSON's opinion, as RVPlus's "CEO-Chairman," on
     ECC02's business.
           29.   On or about July 24, 2013, defendant PETERSON received an e-
     mail from the U.N. Climate Convention which stated:

          [W]e would like to bring to your attention the misuse of the
          [U.N. Climate Convention] logo and making erroneous
          statement about your observer status with the [U.N. Climate
          Convention] .... In this context, we would like to remind you
          that you were already demanded by the [U.N. Climate
          Convention] secretariat to immediately cease and desist from
          making similar statements and to notify the secretariat of the
          removal of the logo. The letter was sent to you on November
          5, 2010.




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